  8:06-cr-00370-JFB-FG3          Doc # 22   Filed: 01/24/07   Page 1 of 1 - Page ID # 29




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )
                                              )
             vs.                              )                8:06CR370
                                              )
HECTOR MANUEL,                                )         SCHEDULING ORDER
                                              )
                    Defendant.                )



       Before the court is the government’s Motion for Continuance [21]. Good cause
being shown, the motion will be granted and the previously set evidentiary hearing on
the Motion to Suppress Evidence [18] will be rescheduled.

      IT IS ORDERED:

      1.     That the government’s Motion for Continuance [21] is granted; and

      2.     That the evidentiary hearing on the Motion to Suppress Evidence [18] is
             continued to January 31, 2007 at 9:00 a.m. before Magistrate Judge F.A.
             Gossett, Courtroom No. 6, Second Floor, Roman L. Hruska U.S.
             Courthouse, 111 So. 18 th Plaza, Omaha, Nebraska.

      Since this is a criminal case, the defendant must be present, unless excused by
the Court. An interpreter will be provided by the Court.

      DATED this 24th day of January, 2007.

                                            BY THE COURT:


                                            s/ F.A. Gossett
                                            United States Magistrate Judge
